Case 3:16-cv-00117-JPG-DGW Document 117 Filed 10/01/18 Page 1 of 2 Page ID #4994




                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

   MICHAEL C. LAMPLEY and TERRI L.
   LAMPLEY,

                   Plaintiffs,

           v.                                               Case No. 3:16-cv-00117-JPG-DGW

   FRANKLIN COUNTY, ILLINOIS, et al.,

                   Defendants.

                                   MEMORANDUM AND ORDER

  J. PHIL GILBERT, DISTRICT JUDGE

         This matter comes before the Court on a number of papers from both parties. First, the

  plaintiffs filed a motion to dismiss all of the individual defendants from this action with prejudice.

  (ECF No. 113.) The defendants have filed a response consenting to the motion. (ECF No. 114.)

  The Court will accordingly GRANT the motion and DISMISS WITH PREJUDICE all of the

  individual defendants from this case pursuant to Federal Rule of Civil Procedure 41(a)(2): Sheriff

  Donald Jones, Chet Lee Shaffer, Gerald Dorris, Rachel Heise, Tiffanie Young Harris, Kayelynne

  Sue Mason, Edith Marie Johnson, Phillip Jackson, Annabelle Shukites, Dr. Adeyemi Fatoki and

  David R. Veldman. The Court DIRECTS the Clerk of Court to terminate these parties as

  defendants in this matter.

         Defendants Franklin County, Illinois, Correctional Healthcare, LTD, and Correctional

  Healthcare Physicians II, PC remain. Franklin County has filed a paper indicating that the claims

  against these three remaining parties have settled and no further claims remain for adjudication.

  (ECF No. 115.) But since Franklin County was the only party to sign that paper, the Court cannot

  yet close this case. If the remaining parties want the Court to close this case, then the parties should



                                                     1
Case 3:16-cv-00117-JPG-DGW Document 117 Filed 10/01/18 Page 2 of 2 Page ID #4995




  file a stipulated dismissal signed by all parties pursuant to Federal Rule of Civil Procedure

  41(a)(1)(A)(ii).

  IT IS SO ORDERED.

  DATED: OCTOBER 1, 2018

                                                    s/ J. Phil Gilbert
                                                    J. PHIL GILBERT
                                                    DISTRICT JUDGE




                                               2
